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                            UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
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AUTOMATED TRACKING
                                                                                  ALEAA>:jHIA. VIFiGi.'
SOLUTIONS, LLC,


                                     Plaintiff,


vs.                                                         Case No.:



AWAREPOINT CORPORATION, BODE
TECHNOLOGY GROUP, INC., IMPINJ,
INC., TELETRACKING TECHNOLOGIES,                             Jury Trial Demanded
INC., RADARFIND CORPORATION, AND
SIMPLYRFID INC.,


                                      Defendants.



                      COMPLAINT FOR PATENT INFRINGEMENT


         Plaintiff Automated Tracking Solutions, LLC ("ATS"), by counsel and pursuant to


Federal Rule of Civil Procedure 8(a), alleges the following in support of its Complaint against


Defendants Awarepoint Corporation ("Awarepoint11), Bode Technology Group, Inc. ("Bode


Technology"),    Impinj,   Inc.   ("Impinj"),     TeleTracking   Technologies,   Inc.    ("TeleTracking


Technologies"), RadarFind Corporation ("RadarFind"), and SimplyRFiD Inc. ("SimplyRFiD")


(collectively, "Defendants") for patent infringement:



                                                PARTIES

         1.     Plaintiff Automated Tracking Solutions, LLC is a Delaware limited liability

company with its principal place of business located at 8500 Fort Hunt Rd., Alexandria, VA


22308.
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         2.    Upon information and belief, Awarepoint Corporation is a Delaware corporation


with its principal place of business at 600 West Broadway, Suite 250, San Diego, CA 92101.



         3.    Upon information and belief, Bode Technology Group, Inc. is a Delaware


corporation with its principal place of business at 10430 Furnace Road, Suite 107, Lorton, VA

22079.



         4.    Upon information and belief, Impinj, Inc. is a Delaware corporation with its

principal place of business at 701 North 34th Street, Suite 300, Seattle, WA 98103.



         5.    Upon information and belief, TeleTracking Technologies, Inc. is a Delaware

corporation with its principal place of business at 336 Fourth Avenue, Pittsburgh, PA 15222.

Upon information and belief, Defendant RadarFind Corporation is a wholly owned subsidiary of

TeleTracking Technologies, Inc.



         6     Upon information and belief, RadarFind Corporation is a Delaware corporation

with its principal place of business located at 2100 Gateway Centre Boulevard, Suite 150,

Morrisville, NC 27560. Upon information and belief, RadarFind Corporation is a wholly owned

subsidiary of Defendant TeleTracking Technologies, Inc.



         7.    Upon information and belief, SimplyRFiD Inc. is a Virginia corporation with its

principal place of business located at 6599 Commerce Ct., Suite 100, Warrenton, VA 20187.


                                JURISDICTION AND VENUE



         8.   This action arises under the patent laws of the United States, Title 35 U.S.C. §§ 1,

et seq. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).
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Awarepoint Corporation



        9.       Upon information and belief, this Court has personal jurisdiction over Awarepoint


because Awarepoint regularly and purposefully avails itself of the privilege of conducting


business activities in the Commonwealth of Virginia and this judicial district by, among other


things, offering its products and services to customers, business affiliates and partners located in


this judicial district. In addition, upon information and belief, personal jurisdiction is proper


because Awarepoint has committed acts of direct infringement and/or indirect infringement in


this judicial district.



         10.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b), 1391(c),

and 1400(b) because Awarepoint is subject to personal jurisdiction in this judicial district and has


committed acts of direct infringement and/or indirect infringement in this judicial district.



Bode Technoloev Group, Inc.



         11.     Upon information and belief, this Court has personal jurisdiction over Bode


Technology because Bode Technology regularly and purposefully avails itself of the privilege of

conducting business activities in the Commonwealth of Virginia and this judicial district by,


among other things, offering its products and services to customers, business affiliates and

partners located in this judicial district. In addition, upon information and belief, personal

jurisdiction is proper because Bode Technology has committed acts of direct infringement and/or

indirect infringement in this judicial district.



         12.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b), 1391(c),

and 1400(b) because Bode Technology is subject to personal jurisdiction in this judicial district
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and has committed acts of direct infringement and/or indirect infringement in this judicial

district.



Impini. Inc.



            13.   Upon information and belief, this Court has personal jurisdiction over Impinj

because Impinj regularly and purposefully avails itself of the privilege of conducting business

activities in the Commonwealth of Virginia and this judicial district by, among other things,

offering its products and services to customers, business affiliates and partners located in this

judicial district. In addition, upon information and belief, personal jurisdiction is proper because

Impinj has committed acts of direct infringement and/or indirect infringement in this judicial


district.



            14.   Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b), 1391(c),

and 1400(b) because Impinj is subject to personal jurisdiction in this judicial district and has


committed acts of direct infringement and/or indirect infringement in this judicial district.



 TeleTrackins Technologies, Inc., andRadarFind Corporation



            15.   Upon   information    and   belief,   this   Court   has   personal jurisdiction   over


 TeleTracking Technologies and RadarFind because TeleTracking Technologies and RadarFind

 regularly and purposefully avail themselves of the privilege of conducting business activities in

 the Commonwealth of Virginia and this judicial district by, among other things, offering their

 products and services to customers, business affiliates and partners located in this judicial


 district. In addition, upon information and belief, personal jurisdiction is proper because
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TeleTracking Technologies and RadarFind have committed acts of direct infringement and/or

indirect infringement in this judicial district.


        16.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b), 1391(c),

and 1400(b) because TeleTracking Technologies and RadarFind are subject to personal

jurisdiction in this judicial district and have committed acts of direct infringement and/or indirect

infringement in this judicial district.



SimplvRFiD Inc.



         17.    Upon     information      and   belief, this   Court   has   personal jurisdiction over

SimplyRFiD because SimplyRFiD regularly and purposefully avails itself of the privilege of

conducting business activities in the Commonwealth of Virginia and this judicial district by,

among other things, offering its products and services to customers, business affiliates and

partners located in this judicial district. In addition, upon information and belief, personal

jurisdiction is proper because SimplyRFiD has committed acts of direct infringement and/or

 indirect infringement in this judicial district.



         18.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b), 1391(c),

 and 1400(b) because SimplyRFiD is subject to personal jurisdiction in this judicial district and

 has committed acts of direct infringement and/or indirect infringement in this judicial district.



                                     FACTUAL BACKGROUND



         19.     Inventory control was conventionally performed primarily by hand or not at all.

 As a result, businesses often faced significant shrinkage of inventory and increased labor costs as

 employees searched for missing items.
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       20.    Dr. Fred H. Sawyer initially founded F.H.S. Systems Engineering & Technical

Services, Ltd. to develop and integrate new RFID technology into these manual processes. In

2005, Dr. Sawyer founded Automated Tracking Solutions Incorporated, which became ATS

when Adam S. Malamut, Scott D. Liebling and Ronald L. Dubrow joined on August 14, 2007, to

continue the development and integration of RFID technology.



       21.    Dr. Sawyer has been a resident of Alexandria, Virginia, since 1984. He was born

and grew up in Norfolk, Virginia and attended college at Virginia State University, obtaining a

degree in Physics in 1962. Dr. Sawyer also obtained a doctorate in Operations Research in 1977

from the George Washington University with a concentration in queuing theory, and a master's

degree in Electrical Engineering in 1987 from Perm State University. He is the majority owner of

ATS.



       22.     Dr. Sawyer invented processes and systems that permit identification, tracking,


location, and/or surveillance of tagged objects at the item level anywhere in a facility or area. As

part of his work at ATS, Dr. Sawyer designed and built an operable system for performing these


functions.



       23.     Dr. Sawyer filed for multiple patents to protect these inventions at the United


States Patent and Trademark Office ("USPTO").



       24.     Dr. Sawyer is the sole named inventor in United States Patent Nos. 7,551,089,


7,834,765, 7,834,766, and 6,933,849 (collectively the "Patents-in-Suit") and has assigned the


Patents-in-Suit to ATS.
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                                   FIRST CAUSE OF ACTION



                     INFRINGEMENT OF U.S. PATENT NO. 7,551,089



       25.      The allegations of Paragraphs 1-24 are incorporated herein by reference.



       26.      ATS is the assignee and sole owner of all right, title, and interest in United States


Patent No. 7,551,089 ("the '089 patent"), entitled "Method and Apparatus for Tracking Objects


and People," which issued on June 23, 2009. A true and correct copy of the '089 patent is

attached hereto as Exhibit 1.



       27.      Defendant Awarepoint has been infringing, continues to infringe, induces others


to infringe, and/or contributes to the infringement by others of, claims 49-62 of the '089 patent


through at least the acts of making, using, selling, offering for sale, and/or importing infringing


products and services, either literally or under the doctrine of equivalents. Awarepoint's


infringing products and services include, without limitation, the Real-Time Location System


(RTLS). Awarepoint's RTLS system includes Awarepoint tags (equipment T2A asset tag,


sterilizable T2S tag, temperature monitoring T2T tag, and wearable T2P1                 patient tag),


Awarepoint Sensors (S2 and S2C sensors), Awarepoint Applicance, Awarepoint Bridge,


Awarepoint RTLS Software (including but not limited to Awarepoint engine, Searchpoint, and


Infopoint    software)   and    Amelior   Tracker Products   (Amelior   Tracker Mobile,     Amelior

CVUTracker, Amelior EDTracker, Amelior OPS Tracker, and Amelior ORTracker).



       28.      Defendant Bode Technology has been infringing, continues to infringe, induces


others to infringe, and/or contributes to the infringement by others of, claims 1-25, 27-37, and

39-62 of the '089 patent through at least the acts of making, using, selling, offering for sale,
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and/or importing infringing products and services, either literally or under the doctrine of

equivalents. Bode Technology's infringing products and services include, without limitation, the

Bode-RFID Evidence and Tracking system including near field UPM Raflatac Paperclip tags, far

field UPM Raflatac Dogbone tags, Identi-Gun RFID Reader, Motorola MC9090-G RFID reader,

Workabout Pro handheld computer, Speedway R220 reader, Speedway R420 reader, brickyard

antenna, guardwall antenna, mini-guardrail antenna, threshold antenna, RFID thin portal, RFID

Guardian Portal, and Bode-RFID Software.



       29.      Defendant Impinj has been infringing, continues to infringe, induces others to

infringe, and/or contributes to the infringement by others of, claims 49-62 of the '089 patent

through at least the acts of making, using, selling, offering for sale, and/or importing infringing


products and services, either literally or under the doctrine of equivalents. Impinj's infringing

products and services include, without limitation, the Monza RFID tag chips, Indy Reader Chips,

Brickyard     Antenna,   Guardwall   Antenna,   MatchBox     Antenna,   Mini-Guardrail    Antenna,

Threshold Antenna, Speedway Revolution Reader, Speedway Reader, Speedway xPortal Reader,


and Octane software.



        30.     Defendants TeleTracking Technologies and RadarFind have been infringing,


continue to infringe, induce others to infringe, and/or contribute to the infringement by others of,


claims 49-62 of the '089 patent through at least the acts of making, using, selling, offering for


sale, and/or importing infringing products and services, either literally or under the doctrine of


equivalents. TeleTracking Technologies and RadarFind's infringing products and services


include, without limitation, the RadarFind Real Time Location System (RTLS) including Asset


tags, patient tags, readers, collectors, server, and RadarFind Software Suite including RadarFind

database, location engine, and reporting software.



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       31.     Defendant SimplyRFiD has been infringing, continues to infringe, induces others

to infringe, and/or contributes to the infringement by others of, claims 1-25, 36-37, and 40-62 of

the '089 patent through at least the acts of making, using, selling, offering for sale, and/or

importing infringing products and services, either literally or under the doctrine of equivalents.

SimplyRFiD's infringing products and services include, without limitation, the SimplyRFiD

Asset Tracking System including Avery AD-223 RFID tags, C1G2 RFID tags, SimplyRFiD

Blank Travelers tags, SimplyRFiD Blank XTravelers tags, Nox tags (including, without

limitation, Nox-TM4 tags, Nox-2 tags, Nox-TM9LR On/Off Metal High-Temperature Rugged

RFID tags, Nox-TM7G tags), Handheld RFID Reader, Noxlnterrogators, NoxZone, NoxWMS,

RFID antennas, Nox Asset Tracking Appliances, and NoxCore Software.



        32.    Defendants1 acts of infringement have injured and damaged ATS.



        33.    Defendants' infringement has caused irreparable injury to ATS and will continue


to cause irreparable injury until Defendants are enjoined by this Court from further infringement.



                                SECOND CAUSE OF ACTION



                     INFRINGEMENT OF U.S. PATENT NO. 7,834,765



        34.    The allegations of Paragraphs 1-33 are incorporated herein by reference.



        35.    ATS is the assignee and sole owner of all right, title, and interest in United States


Patent No. 7,834,765 ("the 765 patent"), entitled "Method and Apparatus for Tracking Objects

and People," which issued on Nov. 16, 2010. A true and correct copy of the '765 patent is


attached hereto as Exhibit 2.
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       36.       Defendant Awarepoint has been infringing, continues to infringe, induces others

to infringe, and/or contributes to the infringement by others of, claims 1-59 of the 765 patent

through at least the acts of making, using, selling, offering for sale, and/or importing infringing

products and services, either literally or under the doctrine of equivalents. Awarepoint1 s

infringing products and services include, without limitation, the Real-Time Location System

(RTLS).       Awarepoint's RTLS system includes Awarepoint tags (equipment T2A asset tag,

sterilizable T2S tag, temperature monitoring T2T tag, and wearable T2P1               patient tag),

Awarepoint Sensors (S2 and S2C sensors), Awarepoint Applicance, Awarepoint Bridge,

Awarepoint RTLS Software (including but not limited to Awarepoint engine, Searchpoint, and

Infopoint     software)   and   Amelior   Tracker Products   (Amelior   Tracker Mobile,   Amelior


 CVUTracker, Amelior EDTracker, Amelior OPS Tracker, and Amelior ORTracker).



        37.      Defendant Bode Technology has been infringing, continues to infringe, induces


 others to infringe, and/or contributes to the infringement by others of, claims 1-59 of the 765

patent through at least the acts of making, using, selling, offering for sale, and/or importing


 infringing products and services, either literally or under the doctrine of equivalents. Bode


 Technology's infringing products and services include, without limitation, the Bode-RFID


 Evidence and Tracking system including near field UPM Raflatac Paperclip tags, far field UPM


 Raflatac Dogbone tags, Identi-Gun RFID Reader, Motorola MC9090-G RFID reader, Workabout


 Pro handheld computer, Speedway R220 reader, Speedway R420 reader, brickyard antenna,


 guardwall antenna, mini-guardrail antenna, threshold antenna, RFID. thin portal, RFID Guardian

 Portal, and Bode-RFID Software.



        38.      Defendant Impinj has been infringing, continues to infringe, induces others to


 infringe, and/or contributes to the infringement by others of, claims 1-59 of the 765 patent



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through at least the acts of making, using, selling, offering for sale, and/or importing infringing


products and services, either literally or under the doctrine of equivalents. Impinj's infringing


products and services include, without limitation, the Monza RFID tag chips, Indy Reader Chips,

Brickyard    Antenna,   Guardwall   Antenna,    MatchBox     Antenna,    Mini-Guardrail    Antenna,


Threshold Antenna, Speedway Revolution Reader, Speedway Reader, Speedway xPortal Reader,

and Octane software.



       39.     Defendants TeleTracking Technologies and RadarFind have been infringing,

continue to infringe, induce others to infringe, and/or contribute to the infringement by others of,

claims 1-59 of the 765 patent through at least the acts of making, using, selling, offering for sale,

and/or importing infringing products and services, either literally or under the doctrine of

equivalents. TeleTracking Technologies and RadarFind's infringing products and services

include, without limitation, the RadarFind Real Time Location System (RTLS) including Asset

tags, patient tags, readers, collectors, server, and RadarFind Software Suite including RadarFind

database, location engine, and reporting software.



       40.     Defendant SimplyRFiD has been infringing, continues to infringe, induces others

to infringe, and/or contributes to the infringement by others of, claims 1-59 of the 765 patent

through at least the acts of making, using, selling, offering for sale, and/or importing infringing

products and services, either literally or under the doctrine of equivalents. SimplyRFiD's

infringing products and services include, without limitation, the SimplyRFiD Asset Tracking

System including Avery AD-223 RFID tags, C1G2 RFID tags, SimplyRFiD Blank Travelers

tags, SimplyRFiD Blank XTravelers tags, Nox tags (including, without limitation, Nox-TM4

tags, Nox-2 tags, Nox-TM9LR On/Off Metal High-Temperature Rugged RFID tags, Nox-TM7G




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tags), Handheld RFID Reader, Noxlnterrogators, NoxZone, NoxWMS, RFID antennas, Nox

Asset Tracking Appliances, and NoxCore Software.



        41.      Defendants' acts of infringement have injured and damaged ATS.



        42.      Defendants' infringement has caused irreparable injury to ATS and will continue

to cause irreparable injury until Defendants are enjoined by this Court from further infringement.



                                  THIRD CAUSE OF ACTION



                      INFRINGEMENT OF U.S. PATENT NO. 7,834,766



        43.      The allegations of Paragraphs 1-42 are incorporated herein by reference.



        44.      ATS is the assignee and sole owner of all right, title, and interest in United States


 Patent No. 7,834,766 ("the 766 patent"), entitled "Method and Apparatus for Tracking Objects


 and People," which issued on Nov. 16, 2010. A true and correct copy of the 766 patent is


 attached hereto as Exhibit 3.



        45.      Defendant Awarepoint has been infringing, continues to infringe, induces others


 to infringe, and/or contributes to the infringement by others of, claims 1-67 of the 766 patent


 through at least the acts of making, using, selling, offering for sale, and/or importing infringing


 products and services, either literally or under the doctrine of equivalents. Awarepoint's

 infringing products and services include, without limitation, the Real-Time Location System

 (R.TLS).     Awarepoint's RTLS system includes Awarepoint tags (equipment T2A asset tag,


 sterilizable T2S tag, temperature monitoring T2T tag, and wearable T2P1                patient tag),

 Awarepoint Sensors (S2 and S2C sensors), Awarepoint Applicance, Awarepoint Bridge,




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Awarepoint RTLS Software (including but not limited to Awarepoint engine, Searchpoint, and

Infopoint software) and Amelior Tracker Products (Amelior Tracker Mobile, Amelior

CVUTracker, Amelior EDTracker, Amelior OPS Tracker, and Amelior ORTracker).


       46.     Defendant Bode Technology has been infringing, continues to infringe, induces

others to infringe, and/or contributes to the infringement by others of, claims 1-67 of the 766

patent through at least the acts of making, using, selling, offering for sale, and/or importing

 infringing products and services, either literally or under the doctrine of equivalents. Bode

 Technology's infringing products and services include, without limitation, the Bode-RFID

 Evidence and Tracking system including near field UPM Raflatac Paperclip tags, far field UPM

 Raflatac Dogbone tags, Identi-Gun RFID Reader, Motorola MC9090-G RFID reader, Workabout

 Pro handheld computer, Speedway R220 reader, Speedway R420 reader, brickyard antenna,

 guardwall antenna, mini-guardrail antenna, threshold antenna, RFID thin portal, RFID Guardian

 Portal, and Bode-RFID Software.



        47.     Defendant Impinj has been infringing, continues to infringe, induces others to


 infringe, and/or contributes to the infringement by others of, claims 1-67 of the 766 patent

 through at least the acts of making, using, selling, offering for sale, and/or importing infringing

 products and services, either literally or under the doctrine of equivalents. Impinj's infringing

 products and services include, without limitation, the Monza RFID tag chips, Indy Reader Chips,


 Brickyard    Antenna,   Guardwall   Antenna,   MatchBox     Antenna,    Mini-Guardrail   Antenna,

 Threshold Antenna, Speedway Revolution Reader, Speedway Reader, Speedway xPortal Reader,


 and Octane software.




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       48.     Defendants TeleTracking Technologies and RadarFind have been infringing,

continue to infringe, induce others to infringe, and/or contribute to the infringement by others of,

claims 1-67 of the 766 patent through at least the acts of making, using, selling, offering for sale,

and/or importing infringing products and services, either literally or under the doctrine of

equivalents. TeleTracking Technologies and RadarFind's infringing products and services

include, without limitation, the RadarFind Real Time Location System (RTLS) including Asset

tags, patient tags, readers, collectors, server, and RadarFind Software Suite including RadarFind

database, location engine, and reporting software.



        49.    Defendant SimplyRFiD has been infringing, continues to infringe, induces others

to infringe, and/or contributes to the infringement by others of, claims 1-67 of the 766 patent


through at least the acts of making, using, selling, offering for sale, and/or importing infringing

products and services, either literally or under the doctrine of equivalents. SimplyRFiD's

infringing products and services include, without limitation, the SimplyRFiD Asset Tracking

 System including Avery AD-223 RFID tags, C1G2 RFID tags, SimplyRFiD Blank Travelers


tags, SimplyRFiD Blank XTravelers tags, Nox tags (including, without limitation, Nox-TM4


 tags, Nox-2 tags, Nox-TM9LR On/Off Metal High-Temperature Rugged RFID tags, Nox-TM7G


 tags), Handheld RFID Reader, Noxlnterrogators, NoxZone, NoxWMS, RFID antennas, Nox


 Asset Tracking Appliances, and NoxCore Software.



        50.     Defendants' acts of infringement have injured and damaged ATS.



        51.     Defendants' infringement has caused irreparable injury to ATS and will continue


 to cause irreparable injury until Defendants are enjoined by this Court from further infringement.




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                                  FOURTH CAUSE OF ACTION



                     INFRINGEMENT OF U.S. PATENT NO. 6,933,849



        52.    The allegations of Paragraphs 1 -51 are incorporated herein by reference.


        53.     ATS is the assignee and sole owner of all right, title, and interest in United States

Patent No. 6,933,849 ("the '849 patent"), entitled "Method and Apparatus for Tracking Objects

and People," which issued on Aug. 23, 2005. A true and correct copy of the '849 patent is

 attached hereto as Exhibit 4.



        54.     Defendant Awarepoint has been infringing, continues to infringe, induces others

 to infringe, and/or contributes to the infringement by others of, claims 1-2, 22-26, 42-43, and 53

 of the '849 patent through at least the acts of making, using, selling, offering for sale, and/or

 importing infringing products and services, either literally or under the doctrine of equivalents.

 Awarepoint's infringing products and services include, without limitation, the Real-Time

 Location System (RTLS).         Awarepoint's RTLS system includes Awarepoint tags (equipment

 T2A asset tag, sterilizable T2S tag, temperature monitoring T2T tag, and wearable T2P1 patient

 tag), Awarepoint Sensors (S2 and S2C sensors), Awarepoint Applicance, Awarepoint Bridge,

 Awarepoint RTLS Software (including but not limited to Awarepoint engine, Searchpoint, and

 Infopoint software) and Amelior Tracker Products (Amelior Tracker Mobile, Amelior

 CVUTracker, Amelior EDTracker, Amelior OPS Tracker, and Amelior ORTracker).



         55.     Defendant Bode Technology has been infringing, continues to infringe, induces


 others to infringe, and/or contributes to the infringement by others of, claims 1-2, 22-26, 29-30,

 39-40, 42-43, and 53 of the '849 patent through at least the acts of making, using, selling,




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offering for sale, and/or importing infringing products and services, either literally or under the

doctrine of equivalents. Bode Technology's infringing products and services include, without

limitation, the Bode-RFID Evidence and Tracking system including near field UPM Raflatac

Paperclip tags, far field UPM Raflatac Dogbone tags, Identi-Gun RFID Reader, Motorola

MC9090-G RFID reader, Workabout Pro handheld computer, Speedway R220 reader, Speedway

R420 reader, brickyard antenna, guardwall antenna, mini-guardrail antenna, threshold antenna,

RFID Thin Portal, RFID Guardian Portal, and Bode-RFID Software.


        56.    Defendant Impinj has been infringing, continues to infringe, induces others to

infringe, and/or contributes to the infringement by others of, claims 1-2, 22-26, 42-43, and 53 of

the '849 patent through at least the acts of making, using, selling, offering for sale, and/or

 importing infringing products and services, either literally or under the doctrine of equivalents.

 Impinj's infringing products and services include, without limitation, the Monza RFID tag chips,

 Indy Reader Chips, Brickyard Antenna, Guardwall Antenna, MatchBox Antenna, Mini-Guardrail

 Antenna, Threshold Antenna, Speedway Revolution Reader, Speedway Reader, Speedway

 xPortal Reader, and Octane software.



         57.    Defendants TeleTracking Technologies and RadarFind have been infringing,

 continue to infringe, induce others to infringe, and/or contribute to the infringement by others of,

 claims 1-2, 22-26, 42-43, and 53 of the '849 patent through at least the acts of making, using,

 selling, offering for sale, and/or importing infringing products and services, either literally or

 under the doctrine of equivalents. TeleTracking Technologies and RadarFind's infringing

 products and services include, without limitation, the RadarFind Real Time Location System

 (RTLS) including Asset tags, patient tags, readers, collectors, server, and RadarFind Software

 Suite including RadarFind database, location engine, and reporting software.



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       58.    Defendant SimplyRFiD has been infringing, continues to infringe, induces others

to infringe, and/or contributes to the infringement by others of, claims 1-2, 22-26, 29-30, 39-40,

42-43, and 53 of the '849 patent through at least the acts of making, using, selling, offering for

sale, and/or importing infringing products and services, either literally or under the doctrine of

equivalents. SimplyRFiD's infringing products and services include, without limitation, the

SimplyRFiD Asset Tracking System including Avery AD-223 RFID tags, C1G2 RFID tags,

SimplyRFiD Blank Travelers tags, SimplyRFiD Blank XTravelers tags, Nox tags (including,

without limitation, Nox-TM4 tags, Nox-2 tags, Nox-TM9LR On/Off Metal High-Temperature

Rugged RFID tags, Nox-TM7G tags), Handheld RFID Reader, Noxlnterrogators, NoxZone,

NoxWMS, RFID antennas, Nox Asset Tracking Appliances, and NoxCore Software.


        59.     Defendants1 acts of infringement have injured and damaged ATS.


        60.       Defendants' infringement has caused irreparable injury to ATS and will continue

 to cause irreparable injury until Defendants are enjoined by this Court from further infringement.


                                     PRAYER FOR RELIEF



         WHEREFORE, Plaintiff requests the following relief:


         1.       A judgment against Defendants as to infringement of the Patents-in-Suit as

 alleged above;



         2.       A permanent injunction pursuant to 35 U.S.C. § 283, enjoining Defendants and

 their officers, directors, agents, servants, affiliates, employees, subsidiaries, parents, licensees,

 assigns, and customers, and all others acting in concert or participating with them, from further




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acts of infringement, inducing infringement, and/or contributing to the infringement of the

Patents-in-Suit as alleged above;


       3.      A judgment against Defendants for money damages sustained as a result of

Defendants' infringement of the Patents-in-Suit, as alleged above, in an amount as provided

under 35 U.S.C. § 284, to be no less than a reasonable royalty with interest and costs;


        4.     An accounting for infringing sales not presented at trial and an award by this

 Court of additional damages for any such infringing sales;


        5.      An award of pre-judgment and post-judgment interest on the damages caused by

 Defendants' infringing activities and other conduct complained of herein;


        6.      A finding that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

 award ATS its costs and reasonable attorneys' fees incurred in connection with this action; and


         7.     Such other and further relief as this Court finds just and proper.




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                                    DEMAND FOR JIJRY TRIAL



        Plaintiff hereby respectfully requests a trial by jury pursuant to Fed. R. Civ. P. 38 of all

issues in this action so triable.


Date: July 28, 2011                                     Respectfully submitted,



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